                            Case 8:22-cv-02386-PJM Document 17 Filed 10/06/22 Page 1 of 3



                                              IN THE UNITED STATES DISTRICT COURT FOR
                                                     THE DISTRICT OF MARYLAND
                                                           (Southern Division)

                            MICHELLE BYERS                               *
                            7 Marshall Road
                            Waldorf, Maryland 20602                      *

                                  Plaintiff                              *

                            v.                                           *    Case No. 8:22-cv-02386-PJM

                            PV HOLDING CORP.                             *
                            100 W. Tenth Street, Room 1200
                            Wilmington, Delaware 19801                   *
                            (Owner of the vehicle)
                                                                      *
                            SERVE:
                            CSC-Lawyers Incorporating Service Company *
                            7 St. Paul Street, Suite 820
                            Baltimore, Maryland 21202                 *

                            And                                          *

                            AVIS BUDGET GROUP, INC.                      *
                            100 W. Tenth Street, Room 1200
                            Wilmington, Delaware 19801                   *
                            (Parent company of PV Holding Corp.)
                                                                      *
                            SERVE:
                            CSC-Lawyers Incorporating Service Company *
                            7 St. Paul Street, Suite 820
                            Baltimore, Maryland 21202                 *

                            And                                          *

                            AVIS BUDGET GROUP, INC.                      *
                            6 Sylvan Way, Suite 1,
                            Parsippany, New Jersey, 07054-3826           *
                            (Parent company of PV Holding Corp.)
                                                                         *
                            SERVE:
                            Corporation Service Company, Registered Agent *
TROLLINGER LAW, LLC
11705 Berry Rd, Suite 201   251 Little Falls Drive, Wilmington
Waldorf, Maryland 20603
     301-965-8500
                            New Castle, Delaware                          *




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                            Case 8:22-cv-02386-PJM Document 17 Filed 10/06/22 Page 2 of 3



                            And                                                     *

                            AVIS BUDGET CAR RENTAL, LLC                             *
                            2711 Centerville Road
                            Wilmington, Delaware19808                               *

                            SERVE:                                    *
                            CSC-Lawyers Incorporating Service Company
                            7 St. Paul Street, Suite 820              *
                            Baltimore, Maryland 21202
                                                                      *
                            And
                                                                      *
                            STEVEN A. MEYERS
                            43A Jackson Street                        *
                            Essex Junction, Vermont 05452
                            (Driver of the vehicle)                   *

                                   Defendants                               *
                            *      *     *        *       *     *     *     *  *              *    *     *    *
                                                            LINE TO ISSUE SUMMONS

                            Clerk of the Court:

                                   Please issue a summons for the Defendant,

                            STEVEN A. MEYERS
                            43A Jackson Street
                            Essex Junction, Vermont 05452

                            and return to the undersigned for service of process.


                                                                         Respectfully Submitted,
                                                                         TROLLINGER LAW, LLC




                                                                         _______________________________
                                                                         Matthew D. Trollinger, Esquire
                                                                         Bar No. 21255
TROLLINGER LAW, LLC
                                                                         11705 Berry Road, Suite 201
11705 Berry Rd, Suite 201                                                Waldorf, MD 20603
Waldorf, Maryland 20603
     301-965-8500                                                        (301) 965-8500/ (301) 965-8800 fax
                                                                         matt@trollingerlaw.com


                                                                           2
                            Case 8:22-cv-02386-PJM Document 17 Filed 10/06/22 Page 3 of 3



                                                                CERTIFICATE OF SERVICE


                                   I HEREBY CERTIFY that on this 6th day of October, 2022, a copy of the Line to
                            Issue Summons was sent electronically via email to:


                            Peter J. Basile, Esquire
                            100 S. Charles Street, Suite 1401
                            Baltimore, MD 21201
                            pbasile@fsb-law.com


                            and that I will retain the original documents in my possession, without alteration, until after
                            the case is concluded in this Court, the time for noting an appeal has expired and any appeal
                            noted has been decided.

                                                                         Trollinger Law, LLC



                                                                         ____________________________
                                                                         Matthew D. Trollinger, Esquire
                                                                         11705 Berry Road, Suite 201
                                                                         Waldorf, MD 20603
                                                                         (301) 965-8500
                                                                         Bar No. 21255
                                                                         matt@trollingerlaw.com
                                                                         Attorney for Plaintiff




TROLLINGER LAW, LLC
11705 Berry Rd, Suite 201
Waldorf, Maryland 20603
     301-965-8500




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